   EXHIBIT 2

(Filed Under Seal)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - x
VIRGINIA L. GIUFFRE,

         Plaintiff,
                             Case No.:
   -against-                 15-cv-07433-RWS

GHISLAINE MAXWELL,

         Defendants.

- - - - - - - - - - - - - - - - - - - - x

                **CONFIDENTIAL**

         Videotaped deposition of GHISLAINE
    MAXWELL, taken pursuant to subpoena, was
    held at the law offices of BOIES
    SCHILLER & FLEXNER, 575 Lexington
    Avenue, New York, New York, commencing
    April 22, 2016, 9:04 a.m., on the above
    date, before Leslie Fagin, a Court
    Reporter and Notary Public in the State
    of New York.

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         MAGNA LEGAL SERVICES
     1200 Avenue of the Americas
      New York, New York 10026
                                                         Page 57
 1               G Maxwell - Confidential
 2          asked and answered already.
 3          Q.     You can answer the question.
 4          A.     I have no idea what
 5   did.
 6          Q.     You never observed
 7   with girls under the age of 18 at Jeffrey's
 8   home?
 9                 MR. PAGLIUCA:   Object to the form
10          and foundation.
11          A.     The answer is no, I have no idea.
12          Q.     Do you know
13          A.     I do.
14          Q.     What is your relationship with
15
16                 MR. PAGLIUCA:   Object to the form.
17          A.     What do you mean what is my
18   relationship.
19          Q.     Are you friendly with him, how do
20   you know him?
21          A.     He is the husband of            .
22          Q.     Is            one of your friends?
23          A.     Yes.
24          Q.     Did you ever send Virginia to
25                                       to give him a
                                                         Page 270
 1               G Maxwell - Confidential
 2          A.     She helps with my not-for-profit
 3   ocean foundation and any other related
 4   activities that I may have.
 5          Q.     Is she paid for by Jeffrey Epstein?
 6          A.     No.
 7          Q.     She is paid for by you?
 8          A.     Yes.
 9          Q.     When did you first meet
10          ?
11          A.     I don't recollect exactly, sometime
12   maybe 2002, 2003.
13          Q.     How did you meet her?
14          A.     I don't recollect exactly how we
15   met.
16          Q.     Did Jeffrey introduce you to her?
17          A.     I don't recollect how we met.
18          Q.     Does she know Jeffrey Epstein?
19                 MR. PAGLIUCA:   Objection to the
20          form and foundation.
21          A.     Can you ask again, please?
22          Q.     Does             know Jeffrey
23   Epstein?
24          A.     What do you mean by know?
25          Q.     Has she met her him before?
                                                         Page 271
 1            G Maxwell - Confidential
 2              MR. PAGLIUCA:     Objection to the
 3        form and foundation.
 4        A.    I can't recollect a time when
 5        -- I've seen       with Jeffrey but --
 6        Q.    You are not sure --
 7        A.    I know they know either other.       I
 8   can't testify to a meeting between them.
 9        Q.    Do you know where in New Jersey she
10   lives?
11       A.     No
12       Q.     You don't know a city?
13       A.     No.
14       Q.     How long has she worked for you?
15       A.     Sometime 2002, 2003.
16       Q.     To the present?
17       A.     Yeah.
18       Q.     Why do you think that
19   might know Jeffrey?
20              MR. PAGLIUCA:   Objection to the
21       form and foundation.
22       A.     Because you know, I know Jeffrey.
23       Q.     Have you seen them together?
24       A.     I already testified I have not seen
25   them together, to my recollection.
                                                          Page 272
 1            G Maxwell - Confidential
 2        Q.     Is it your testimony that
 3          knows Jeffrey Epstein through the work
 4   that she does for you?
 5               MR. PAGLIUCA:     Objection to the
 6        form and foundation.
 7        A.     I don't recollect, and I don't
 8   recollect how I met         and I can't testify
 9   to what          relationship is or is not with
10   Jeffrey.
11       Q.      Have you ever talked to Jeffrey
12   about Dana?
13       A.      I don't know what you mean.
14       Q.      In any way, have you ever had a
15   conversation with Jeffrey about                  ?
16       A.      In what context.
17       Q.      In any context.    Have you ever
18   talked to Jeffrey Epstein about                  ?
19       A.          works for me so it's entirely
20   possible that in the course of conversations
21   since 2002, 2003 that a conversation in which
22         name would have come up is entirely
23   possible.
24       Q.      I provided you with and I'm sorry,
25   I don't know all the numbers, but the
                                                          Page 273
 1            G Maxwell - Confidential
 2   statement that was issued by              that
 3   should be a single page still in your stack
 4   of exhibits there.
 5               MR. PAGLIUCA:   Exhibit 10.
 6        Q.     Did you authorize             to issue
 7   that statement on your behalf in January of
 8   2015?
 9        A.     I already testified that that was
10   done by my lawyers.
11       Q.     So did you authorize your lawyers
12   to issue a statement on your behalf through
13             in January of 2015?
14       A.     It was determined that I had to
15   make a statement in the United Kingdom
16   because of the appalling lies and I just
17   thought of some new ones.
18              Virginia's statement that I
19   celebrated her 16 birthday with her.      We can
20   all agree that that's entirely impossible.       I
21   didn't meet her until she was 17 and other
22   lies she perpetrated that she had a diary and
23   we all know is a complete fake.     That's not a
24   diary.    It was just a book she was writing
25   that you helped sell to the press, as if it
                                                          Page 361
 1               G Maxwell - Confidential
 2                   (Maxwell Exhibit 17, email, marked
 3          for identification.)
 4          Q.       This is an email from you on
 5   January 10, 2015 to
 6      .    The statement you had before you
 7   earlier, that, if you can pull that in front
 8   of you, the one page press release that you
 9   gave.       You might know from memory.
10                   Was the press release that you
11   issued with the statement about Virginia
12   issued in or around January 2, 2015?
13          A.       As best as I can recollect.
14          Q.       I want to turn your attention to
15   the document I just handed you which is Bates
16   No. 001044, from you to
17               .   It says in the first sentence, I'm
18   out of my depth to understand defamation,
19   other legal hazards and I don't want to end
20   up in a lawsuit aimed at me from anyone, if I
21   can help it.       Apparently, even saying
22   Virginia is a liar has hazards.
23                   You knew at the time you called
24   Virginia a liar in early January of 2015 that
25   that was something that would result in a
                                                         Page 405
 1               G Maxwell - Confidential
 2   with Virginia Roberts.
 3          Q.     I'm marking this as Maxwell 25.
 4                 (Maxwell Exhibit 25, email, marked
 5          for identification.)
 6          Q.     I'm showing you what has been
 7   marked as Maxwell 25.
 8                 This is an email dated January 11,
 9   2015 at the top?
10                 Do you see that that from Jeffrey
11   to you?
12          A.     Uh-huh.
13          Q.     And then below there is an email
14   from                    to you and cc'ing
15   on January 11, 2015.
16                 Do you see that?
17          A.     Uh-huh.
18          Q.     It says, Dear Ghislaine, as you
19   know I have been working behind the scenes
20   and this article comes from that.      It helps
21   but doesn't answer the VR claims.      I will get
22   the criminal allegations out.      This shows the
23   MOS will print truth, not just a VR voice
24   piece.      We can only make the truth by making
25   a statement.
                                                         Page 406
 1               G Maxwell - Confidential
 2                 What did he mean when he said, I
 3   will get the criminal allegations out, what
 4   was he referring to?
 5                 MR. PAGLIUCA:     Objection to the
 6          form and foundation.
 7          A.     I have no idea.
 8          Q.     Were there criminal allegations
 9   about Virginia that either your lawyer or
10                   were leaking to the press?
11                 MR. PAGLIUCA:   Objection to form
12          and foundation.
13          A.     I have no idea.
14          Q.     Did you ask him what he meant when
15   he said, I will get the criminal allegations
16   out?
17          A.     I don't recollect the conversation.
18          Q.     Did you direct him to leak to the
19   press criminal allegations about Virginia
20   Roberts?
21          A.     I already testified that I have no
22   knowledge of what you are asking me.
23          Q.     Were you copied on this email,
24   correct?
25          A.     I was.
                                                     Page 416
 1
 2                    CERTIFICATE
 3
 4
 5             I HEREBY CERTIFY that the witness,
 6   GHISLAINE MAXWELL, was duly sworn by me and
 7   that the deposition is a true record of the
 8   testimony given by the witness.
 9
10            _______________________________
11            Leslie Fagin,
               Registered Professional Reporter
12            Dated: April 22, 2016
13
14
15            (The foregoing certification of
16   this transcript does not apply to any
17   reproduction of the same by any means, unless
18   under the direct control and/or supervision
19   of the certifying reporter.)
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